Case 2:04-cr-20237-.]PI\/| Document 57 Filed 08/26/05 Page 1 of 2 Page|D 60

Fl|.ED £
IN THE UNITED STATES DISTRICT COURT FOR THE BY '"--- D-C.
WESTERN DIS'I`RICT OF TENNESSEE

 

0
AT MEMPHIS 5 AUG 25 4" 8-‘ 18
UNITED sTATEs 0F AMERICA, CLEH)§_ 1131 L`S,;»gij,QTl/W
Wt) of : ';£;£;;,D}YQUHT
Plaintiff,

CR. No.: 04-20237-M1

REGINALD McWILLIAMS,

Defendant.

ORDER GRANTING MOTION TO CONTINUE REPORT DATE

IT APPEARING to the Court that Defendant’s motion to continue the
currently scheduled report date is well taken, not opposed and ought to be granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the report date

of the Defendant REGINALD MCcWILLIAMS is hereby re-set to S_¢Q`} 02 3 ,
2005, ¢uI' 9 ;od Q. m.

IT IS SO ORDERED.

/Q~@Nl\ll

TH HONORABLE
JO P. McCALLA
J GE

ITED STATES DISTRICT COURT

wis document entered on the docket sheet:'

n compliance
ith Hule o%~' ami/or 32(b} FRCrP on

   

UNITED sTATE DISTRIC COURT - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20237 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

l\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

